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                     UNITED STATES DISTRICT COURT

                    NORTHERN DISTRICT OF FLORIDA
                          Tallahassee Division

JANE DOE, individually and on behalf
of her minor daughter, SUSAN DOE;
BRENDA BOE, individually and on
behalf of her minor son BENNETT
BOE; CARLA COE, individually and
on behalf of her minor daughter
CHRISTINA COE; and FIONA FOE,                 Civil No. ___________
individually and on behalf of her minor
daughter FREYA FOE,

            Plaintiffs,

                     v.

JOSEPH A. LADAPO, in his official capacity
 as Florida’s Surgeon General
of the Florida Department of Health;
FLORIDA BOARD OF MEDICINE;
SCOT ACKERMAN, NICHOLAS W.
ROMANELLO, WAEL BARSOUM,
MATTHEW R. BENSON, GREGORY
COFFMAN, AMY DERICK, DAVID
DIAMOND, PATRICK HUNTER,
LUZ MARINA PAGES, ELEONOR
PIMENTEL, HECTOR VILA,
MICHAEL WASYLIK, ZACHARIAH P.
ZACHARIAH, MARIA GARCIA,
NICOLE JUSTICE, in their official
capacities as members of the Florida
Board of Medicine; FLORIDA BOARD
OF OSTEOPATHIC MEDICINE;
WATSON DUCATEL, TIFFANY
SIZEMORE DI PIETRO, GREGORY
WILLIAMS, MONICA M.
MORTENSEN, VALERIE JACKSON,

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CHRIS CREEGAN, WILLIAM D.
KIRSH, in their official capacities as
members of the Florida Board of
Osteopathic Medicine,

          Defendants.
___________________________________/


         COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                     PRELIMINARY STATEMENT1

           1.       This Action is a federal constitutional challenge brought by transgender

adolescents and their parents against the bans on medical care for transgender minors

adopted by the Florida Boards of Medicine and Osteopathic Medicine (the

“transgender medical bans”). These transgender medical bans are effective on March

16, 2023 (Board of Medicine, Rule 64B8-9.019, Fla. Admin. Code) and March 28,

2023 (Board of Osteopathic Medicine, Rule 64B15-14.014, Fla. Admin. Code).

           2.       The transgender medical bans violate the rights of parents to make

medical decisions to ensure the health and wellbeing of their adolescent children.

They prohibit parents from seeking and obtaining effective medical treatment in

Florida for their adolescent children by prohibiting doctors from providing

medications to adolescents in accordance with the standards of care and clinical

practice guidelines for treatment of a rare and serious medical condition, gender

dysphoria.


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    Plaintiffs are filing the requisite Motions for Leave to Proceed Under Pseudonym shortly after filing the Complaint.


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      3.      The transgender medical bans also violate the guarantees of equal

protection by banning essential medical treatments needed by the adolescent

Plaintiffs because they are transgender.

      4.      Defendants cannot demonstrate any rational basis, much less an

important or compelling one, for the transgender medical bans which prevent

transgender adolescents from getting safe and effective medically necessary

healthcare.

      5.      The plaintiffs seek declaratory and injunctive relief to enjoin

enforcement of the transgender medical bans. Without the relief sought, plaintiffs

will suffer real and immediate injury.

                                      PARTIES

I. Transgender Plaintiffs and Their Parents

      6.      Plaintiff Jane Doe is and has at all relevant times been a resident of St.

Johns County, Florida. She is the mother of Plaintiff Susan Doe, an eleven-year-old

transgender girl for whom she also appears in this case as next friend. Susan Doe

sues pursuant to Federal Rule of Civil Procedure 17(c) by and through her parent

Jane Doe. Plaintiff Jane Doe and Plaintiff Susan Doe seek to proceed in this case

under a pseudonym to protect the minor plaintiffs’ right to privacy given that she is

a minor and the disclosure of her identity “would reveal matters of a highly sensitive

and personal nature, specifically [the minor]’s transgender status and [her]



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diagnosed medical condition—gender dysphoria.” Foster v. Andersen, No. 18-

2552-DDC-KGG, 2019 WL 329548, at *2 (D. Kan. Jan. 25, 2019). See Motion to

Proceed Pseudonymously, filed concurrently herewith.

      7.     Plaintiff Brenda Boe is and has at all relevant times been a resident of

Alachua County, Florida. She is the mother of Plaintiff Bennett Boe, a fourteen-

year-old transgender boy for whom she also appears in this case as next friend.

Bennett Boe sues pursuant to Federal Rule of Civil Procedure 17(c) by and through

his parent Brenda Boe. Plaintiff Brenda Boe and Plaintiff Bennett Boe seek to

proceed in this case under a pseudonym to protect the minor plaintiffs’ right to

privacy given that he is a minor and the disclosure of his identity “would reveal

matters of a highly sensitive and personal nature, specifically [the minor]’s

transgender status and [his] diagnosed medical condition—gender dysphoria.”

Foster v. Andersen, No. 18- 2552-DDC-KGG, 2019 WL 329548, at *2 (D. Kan. Jan.

25, 2019). See Motion to Proceed Pseudonymously, filed concurrently herewith.

      8.     Plaintiff Carla Coe is and has at all relevant times been a resident of

Duval County, Florida. She is the mother of Plaintiff Christina Coe, a nine-year-old

transgender girl for whom she also appears in this case as next friend. Christina Coe

sues pursuant to Federal Rule of Civil Procedure 17(c) by and through her parent

Carla Coe. Plaintiff Carla Coe and Plaintiff Christina Coe seek to proceed in this

case under a pseudonym to protect the minor plaintiffs’ right to privacy given that



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she is a minor and the disclosure of her identity “would reveal matters of a highly

sensitive and personal nature, specifically [the minor]’s transgender status and [her]

diagnosed medical condition—gender dysphoria.” Foster v. Andersen, No. 18-

2552-DDC-KGG, 2019 WL 329548, at *2 (D. Kan. Jan. 25, 2019). See Motion to

Proceed Pseudonymously, filed concurrently herewith.

      9.     Plaintiff Fiona Foe is and has at all relevant times been a resident of

Orange County, Florida. She is the mother of Plaintiff Freya Foe, a ten-year-old

transgender girl for whom she also appears in this case as next friend. Freya Foe sues

pursuant to Federal Rule of Civil Procedure 17(c) by and through her parent Fiona

Foe. Plaintiff Fiona Foe and Plaintiff Freya Foe seek to proceed in this case under

a pseudonym to protect the minor plaintiffs’ right to privacy given that she is a minor

and the disclosure of her identity “would reveal matters of a highly sensitive and

personal nature, specifically [the minor]’s transgender status and [her] diagnosed

medical condition—gender dysphoria.” Foster v. Andersen, No. 18- 2552-DDC-

KGG, 2019 WL 329548, at *2 (D. Kan. Jan. 25, 2019). See Motion to Proceed

Pseudonymously, filed concurrently herewith.

II. Defendants

      10.    Defendant Joseph Ladapo is sued in his official capacity as the Surgeon

General of the Florida Department of Health, which is responsible for “protect[ing]

and promot[ing] the health” of all Floridians. Fla. Stat. § 20.43 (2022). The Surgeon



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General is appointed by the Governor and serves at the pleasure of the Governor.

Fla. Stat. § 20.43(2) (2022). Defendant Joseph Ladapo, M.D., in his official capacity

as Surgeon General of the Florida Department of Heatlh, initiated the process of the

promulgation of the transgender medical bans pursuant to the authority granted by

Fla. Stat. § 20.43(g) (2022), regarding the regulation of health practitioners.

Defendant Joseph Ladapo’s official place of business is located in Tallahassee, Leon

County, Florida.

      11.      Defendant Scot Ackerman, M.D., is a member of the Florida Board of

Medicine.

      12.      Defendant Nicholas W. Romanello, Esq., is a member of the Florida

Board of Medicine.

      13.      Defendant Wael Barsoum, M.D. is a member of the Florida Board of

Medicine.

      14.      Defendant Matthew R. Benson, M.D. is a member of the Florida Board

of Medicine.

      15.      Defendant Gregory Coffman, M.D., is a member of the Florida Board

of Medicine.

      16.      Defendant Amy Derick, M.D., is a member of the Florida Board of

Medicine.

      17.      Defendant David Diamond, M.D. is a member of the Florida Board of



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Medicine.

      18.      Defendant Patrick Hunter, M.D., is a member of the Florida Board of

Medicine.

      19.      Defendant Luz Marina Pages, M.D., is a member of the Florida Board

of Medicine.

      20.      Defendant Eleonor Pimentel, M.D., is a member of the Florida Board

of Medicine.

      21.      Defendant Hector Vila M.D., is a member of the Florida Board of

Medicine.

      22.      Defendant Michael Wasylik, M.D., is a member of the Florida Board

of Medicine.

      23.      Defendant Zachariah P. Zachariah, M.D., is a member of the Florida

Board of Medicine.

      24.      Defendant Maria Garcia, Esq., is a member of the Florida Board of

Medicine.

      25.      Defendant Nicole Justice is a member of the Florida Board of Medicine.

      26.      Defendant Watson Ducatel, D.O., is a member of the Florida Board of

Osteopathic Medicine.

      27.      Defendant Tiffany Sizemore Di Pietro, D.O., is a member of the

Florida Board of Osteopathic Medicine.



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      28.    Defendant Gregory Williams, D.O., is a member of the Florida Board

of Osteopathic Medicine.

      29.    Defendant Monica M. Mortensen, D.O., is a member of the Florida

Board of Osteopathic Medicine.

      30.    Defendant Valerie Jackson is a member of the Florida Board of

Osteopathic Medicine.

      31.    Defendant Chris Creegan is a member of the Florida Board of

Osteopathic Medicine.

      32.    Defendant William D. Kirsh, D.O., is a member of the Florida Board

of Osteopathic Medicine.

      33.    The Florida Board of Medicine is made up of fifteen members who are

appointed by the Governor. Fla. Stat. § 458.307(1) (2022). Defendant members of

the Florida Board of Medicine, in their official capacities, each separately and

independently took actions to promulgate Fla. Admin. Code 64B-9.019 pursuant to

their rulemaking authority under Fla. Stat. §§ 458.309 and 458.331(1)(v) (2022).

Further, Defendant members of the Florida Board of Medicine, in their official

capacities, each has the authority to enforce Fla. Admin. Code 64B-9.019, including

taking disciplinary action against any doctor for violating its provisions. Fla. Stat. §

456.072. The Florida Board of Medicine is based and headquartered in, and the

official place of business for the Defendant members of the Florida Board of



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Medicine is, Tallahassee, Leon County, Florida.

      34.    The Florida Board of Osteopathic Medicine is made up of seven

members who are appointed by the Governor. Fla. Stat. § 459.004(1) (2022).

Defendant members of the Florida Board of Osteopathic Medicine, in their official

capacities, each separately and independently took actions to promulgate Fla.

Admin. Code 64B15-14.014 pursuant to their rulemaking authority under Fla. Stat.

§§ 459.005 and 459.015(1)(z) (2022). Further, Defendant members of the Florida

Board of Osteopathic Medicine, in their official capacities, each has the authority to

enforce Fla. Admin. Code 64B15-14.014, including taking disciplinary action

against any doctor for violating its provisions. Fla. Stat. § 456.072. The Florida

Board of Osteopathic Medicine is based and headquartered in, and the official place

of business for the Defendant members of the Florida Board of Osteopathic

Medicine is, Tallahassee, Leon County, Florida.

                         JURISDICTION AND VENUE

      35.    The plaintiffs seek redress for the deprivation of their rights secured by

the United States Constitution. This Action is initiated pursuant to 42 U.S.C. § 1983

to enjoin the defendants from enforcing the transgender medical bans and for a

declaration that the transgender medical bans violate federal law.

      36.    This Court has subject matter jurisdiction over the claims asserted

herein pursuant to 28 U.S.C. §§ 1331 and 1343.



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      37.    This Court has personal jurisdiction over the defendants because the

defendants are domiciled in Florida and the denial of the plaintiffs’ rights guaranteed

by federal law arises out of and relates to the defendants’ official duties in Florida.

      38.    Each of the defendants serve and reside in their official capacity on an

agency or board for the State of Florida,. Therefore, venue is proper in this district

pursuant to 28 U.S.C. § 1391(b)(1).

      39.    If enforced, the transgender medical bans would violate the

constitutional rights of the plaintiffs in this judicial district. Therefore, venue is also

proper in this district pursuant to 28 U.S.C. § 1391(b)(2).

      40.    Venue is proper in the Tallahassee Division of the Northern District of

Florida under N.D. Fla. Loc. R. 3.1(B) because it is the location of the principal place

of business for the defendants and where a substantial portion of the acts or

omissions complained of herein occurred.

      41.    This Court has authority to enter a declaratory judgment and to provide

preliminary and permanent injunctive relief pursuant to Fed. R. Civ. P. 57 and 65,

28 U.S.C. §§ 2201 and 2202, and this Court’s inherent equitable powers.

                            FACTUAL ALLEGATIONS

I. Gender Identity and Gender Dysphoria

      42.    Gender identity is an innate, internal sense of one’s sex and is an

immutable aspect of a person’s identity. It is an essential element of human identity



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and a well-established concept in medicine. Everyone has a gender identity. Most

people’s gender identity is consistent with their birth sex. Transgender people,

however, have a gender identity that differs from their birth sex. Being made to live

inconsistent with a person’s gender identity causes discomfort and distress and can

interfere with a person’s ability to function in a productive and healthy way in

matters of daily living.

       43.    Gender dysphoria is the clinical diagnosis for the distress that arises

when a transgender person cannot live consistent with their gender identity. To be

eligible for a diagnosis of gender dysphoria, a young person must meet the criteria

set forth in the American Psychiatric Association’s Diagnostic and Statistical

Manual of Mental Disorders, Fifth Edition (the “DSM-5”).2 If left untreated, gender

dysphoria can cause anxiety, depression, and self-harm, including suicidality.

       44.    In fact, 56% of transgender youth reported a previous suicide attempt

and 86% of them reported suicidality. See Ashley Austin, Shelley L. Craig, Sandra

D. Souza, and Lauren B. McInroy (2022), Suicidality Among Transgender Youth:

Elucidating the Role of Interpersonal Risk Factors, J. of Interpersonal Violence,

Vol. 37 (5-6) NP2696-NP2718.


2
  Earlier editions of the DSM included a diagnosis referred to as “Gender Identity Disorder.” The
DSM-5 noted that Gender Dysphoria “is more descriptive than the previous DSM-IV term gender
identity disorder and focuses on dysphoria as the clinical problem, not identity per se. Being
diagnosed with gender dysphoria “implies no impairment in judgment, stability, reliability, or
general social or vocational capabilities.” Am. Psychiatric Ass’n, Position Statement on
Discrimination Against Transgender & Gender Variant Individuals (2012).


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      45.    Research has shown that an individual’s gender identity is hard-wired

and cannot be changed. In the past, mental health professionals sought to treat gender

dysphoria by attempting to change the person’s gender identity to match their birth

sex; these efforts were unsuccessful and caused serious harms. Today, the medical

profession recognizes that such efforts put transgender minors at risk of profound

harm, including dramatically increased rates of suicidality.

      46.    Gender dysphoria is highly treatable. Healthcare providers who

specialize in the treatment of gender dysphoria follow well-established standards of

care and clinical practice guidelines that have been adopted by the major medical

and mental health associations in the United States including, but not limited to, the

American Medical Association, the American Academy of Pediatrics, the American

Association of Child and Adolescent Psychiatrists, the Pediatric Endocrine Society,

the American Psychiatric Association, the American Psychological Association, and

the Endocrine Society.

      47.    The standards of care for treatment of transgender people, including

transgender youth, were initially developed by the World Professional Association

for Transgender Health (“WPATH”), an international, multidisciplinary,

professional association of medical providers, mental health providers, researchers,

and others, with a mission of promoting evidence-based care and research for

transgender health, including the treatment of gender dysphoria. WPATH published



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the most recent edition of its standards of care for the treatment of gender dysphoria

in minors and adults in 2022, Standards of Care for the Health of Transgender and

Gender Diverse People, Version 8. (Coleman E, Radix AE, Bouman WP et al.

Standards of Care for the Health of Transgender and Gender Diverse People,

Version 8. Int J Transgend 2022 Sep 6;23 (suppl 1): S1-S259.)

      48.     The Endocrine Society has also promulgated a standard of care and

clinical practice guidelines for the provision of hormone therapy as a treatment for

gender dysphoria in minors and adults. See Wylie C. Hembree, et al., Endocrine

Treatment of Gender-Dysphoric/Gender-Incongruent Persons: An Endocrine

Society Clinical Practice Guideline, 102 J. Clin. Endocrinol. Metab. 3869 (2017).

      49.     The American Medical Association, the American Academy of

Pediatrics, the American Association of Child and Adolescent Psychiatrists, the

Pediatric Endocrine Society, the American Psychiatric Assocation, the American

Psychological Association, and other professional medical organizations also follow

the WPATH and Endocrine Society standards of care and clinical practice

guidelines.

      50.     The treatment of gender dysphoria is designed to reduce a transgender

person’s clinically significant distress by permitting them to live in alignment with

their gender identity. Undergoing treatment for gender dysphoria is commonly

referred to as “transition,” “gender transition,” or “gender affirming care.” There are



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several components to the gender transition process.

      51.    The precise treatment of gender dysphoria depends on an

individualized assessment of a patient’s needs.

      52.    Social transition involves a transgender person taking measures to live

in accordance with their gender identity in all aspects of life. For transgender boys,

it means living fully as a boy; for transgender girls, it means living fully as a girl.

Social transition can include adopting a name, pronouns, hairstyle, and clothing

consistent with that person’s gender identity. The steps a transgender person takes

as part of their social transition help align their gender identity with all aspects of

everyday life.

      53.    Gender transition may also involve taking prescribed medications,

puberty blockers and hormones, to bring a person’s body into alignment with their

gender identity.

      54.    There are no medications prescribed to transgender children before they

have begun puberty.

      55.    For a transgender adolescent who has begun puberty, puberty-blocking

medication prevents the patient from going through the physical developments

associated with puberty that exacerbate the distress experienced by the incongruence

between the patient’s gender identity and their body. As such, under the WPATH

Standards of Care and clinical practice guidelines, puberty-blocking medication may



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become medically necessary and appropriate after a transgender adolescent reaches

puberty to minimize or prevent the exacerbation of gender dysphoria and the

permanent physical changes that puberty would cause. In providing medical

treatments to adolescents, pediatric physicians and endocrinologists work in close

consultation with qualified mental health professionals experienced in the diagnosis

and treatment of gender dysphoria.

      56.    For older transgender adolescents, hormone therapy may also be

medically necessary to bring their body into alignment with their gender identity and

further treat the gender dysphoria they may experience without treatment.

      57.    The treatment for gender dysphoria is highly effective. Longitudinal

studies have shown that transgender children with gender dysphoria who receive

essential medical care, including puberty blockers and hormones, show levels of

mental health and stability consistent with those of non-transgender children. Lily

Durwood, et al., Mental Health and Self-Worth in Socially Transitioned

Transgender Youth, 56 J. Am. Acad. Child & Adolescent Psychiatry 116 (2017);

Kristina Olson, et al., Mental Health of Transgender Children Who are Supported

in Their Identities, 137 Pediatrics 1 (2016). In contrast, transgender children with

gender dysphoria who do not receive appropriate medical care are at risk of serious

harm, including dramatically increased rates of suicidality and serious depression.

II. The Transgender Medical Bans



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      58.    On June 2, 2022, Defendant Joseph A. Ladapo sent a letter to the

Florida Board of Medicine and the Florida Board of Osteopathic Medicine

(collectively, the “Boards”) asking the Boards to “establish a standard of care” for

the treatment of gender dysphoria, notwithstanding the widely accepted standards of

care and clinical practice guidelines established by WPATH and the Endocrine

Society.

      59.    On July 28, 2022, the Florida Department of Health sent the Boards a

“Petition to Initiate Rulemaking,” asking the Board, among other things, to adopt a

categorical ban on all treatment of gender dysphoria for people under eighteen years

of age.

      60.    On August 5, 2022, the Boards discussed the June 2, 2022 letter from

Dr. Lapado and the July 28, 2022 Petition to Initiate Rulemaking. The Boards voted

to accept the Petition to Initiate Rulemaking.

      61.    On September 1, 2022, the Boards each published a Notice of

Development of Rulemaking in the Florida Administrative Register (F.A.R.),

proposing “rule development to clarify the practice standards for treatment of gender

dysphoria in minors.”

      62.    On October 14, 2022, the Boards each published a Notice of Rule

Workshop, which would take place on October 28, 2022.

      63.    On October 28, 2022, the Boards held a Joint Workshop regarding the



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development of a rule related to “Practice Standards for the Treatment of Gender

Dysphoria.” At the conclusion of the meeting, the Boards voted in support of

proposed rules that would ban puberty blockers and hormones, with an exception for

treatment performed as clinical trials under the auspices of the Institutional Review

Board (the “exception”). The proposed rules were as follows:

      (1) The following therapies and procedures performed for the
      treatment of gender dysphoria in minors are prohibited.
            (a) Sex reassignment surgeries, or any other surgical procedures,
            that alter primary or secondary sexual characteristics.
            (b) Puberty blocking, hormone, and hormone antagonist
            therapies.
      (2) Nonsurgical treatments for the treatment of gender dysphoria in
      minors may continue to be performed under the auspices of Institutional
      Review Board (IRB) approved, investigator-initiated clinical trials
      conducted at any of the Florida medical schools set forth in Section
      458.3145(1)(i), Florida Statutes. Such clinical trials must include long
      term longitudinal assessments of the patients’ physiologic and
      psychologic outcomes.
      (3) Minors being treated with puberty blocking, hormone, or hormone
      antagonist therapies prior to the effective date of this rule may continue
      with such therapies.

      64.    On November 4, 2022, the Florida Board of Medicine voted to remove

the exception from its proposed transgender medical ban.

      65.    On January 9, 2023, the Boards published Notices of Public Hearing in

the Florida Administrative Register, regarding a joint hearing of the Boards

scheduled to take place on February 10, 2023.

      66.    On February 10, 2023, during the Public Hearing, the Florida Board of

Osteopathic Medicine voted to remove the exception from its proposed transgender

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medical bans.

      67.   The Florida Board of Medicine filed the following rule with the Florida

Department of State on February 24, 2023, with an effective date of March 16, 2023:

            (1) The following therapies and procedures performed for the
            treatment of gender dysphoria in minors are prohibited.
                  (a) Sex reassignment surgeries, or any other surgical
                  procedures, that alter primary or secondary sexual
                  characteristics.
                  (b) Puberty blocking, hormone, and hormone antagonist
                  therapies.
            (2) Minors being treated with puberty blocking, hormone, or
            hormone antagonist therapies prior to the effective date of this
            rule may continue with such therapies.

      68.   The Florida Board of Osteopathic Medicine filed the following rule

with the Florida Department of State on March 8, 2023, with an effective date of

March 28, 2023:

            (1) The following therapies and procedures performed for the
            treatment of gender dysphoria in minors are prohibited.
                  (a) Sex reassignment surgeries, or any other surgical
                  procedures, that alter primary or secondary sexual
                  characteristics.
                  (b) Puberty blocking, hormone, and hormone antagonist
                  therapies.
            (2) Minors being treated with puberty blocking, hormone, or
            hormone antagonist therapies prior to the effective date of this
            rule may continue with such therapies.

      69.   The transgender medical bans include a clause that permits minors

being treated with puberty blockers or hormones prior to the effective date of the

transgender medical bans to continue to receive those treatments.



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      70.    For any transgender minor who is not yet receiving puberty blockers or

hormones at the effective date of the transgender medical bans, they will not be able

to obtain such treatment from a Florida doctor regardless of medical necessity.

      71.    The transgender medical bans ignore the established medical and

scientific consensus that these treatments are medically necessary, safe, and effective

for the treatment of gender dysphoria.

      72.    The transgender medical bans are in direct conflict with state laws

ensuring that parents have the right to make medical decisions for their adolescent

children. See Florida Statutes 1014.02 (which provides that “it is a fundamental right

of parents to direct the upbringing, education, and care of their minor children.”);

Florida Statutes 1014.03 (“The state, any of its political subdivisions, any other

governmental entity, or any other institution may not infringe on the fundamental

rights of a parent to direct the upbringing, education, health care, and mental health

of his or her minor child[.]”) (emphasis added).

III. The Transgender Medical Bans Will Irreparably Harm the Plaintiffs

      Jane Doe and her daughter Susan Doe

      73.    Susan Doe is an eleven-year-old transgender girl who resides with her

mother, Jane Doe, her father, and her three siblings in St. Johns County, Florida.

      74.    From an early age, Susan began telling her parents that she is a girl. She

began living fully as a girl, with the support of her family and upon advice of her



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pediatrician by the time she started kindergarten.

      75.    Susan has been diagnosed with gender dysphoria and that diagnosis has

been confirmed by many doctors, including her doctor at the Pentagon. Susan has

not been prescribed puberty blockers or hormones to treat her gender dyshporia.

      76.    Susan’s medical providers, including her pediatrician, pediatric

endocrinologist, and medical provider on base, continue to monitor her treatment

and concluded that it likely will be medically necessary for her to begin puberty

blocking medications after she begins puberty, which is imminent. The transgender

medical bans, however, will prevent her from obtaining treatment.

      Brenda Boe and her son Bennett Boe

      77.    Bennett Boe is a fourteen-year-old transgender boy who resides in

Alachua County, Florida, with his mother, Brenda Boe.

      78.    Bennett has known that he was not a girl since the third grade. After he

began puberty and started experiencing the accompanying physical changes, Bennett

grew increasingly distressed by the mismatch between his body and his sense of

himself as a boy. Around that time, Bennett experienced debilitating depression,

culminating in an incident of self-harm resulting in hospitalization.

      79.    Bennett’s mother Brenda took Bennett to see medical professionals

who diagnosed Bennett with gender dysphoria and recommended treatment,

including menstrual suppression medication. With Brenda’s consent, Bennett began



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treatment which has considerably alleviated his depression.

        80.   Even with that treatment, Bennett continues to experience gender

dysphoria as a result of continued pubertal development inconsistent with his sense

of himself as a boy.

        81.   Bennett’s doctors believe it may be medically necessary for him to

begin hormone therapy after he turns sixteen.

        82.   Brenda and Bennett fear that the transgender medical medical bans will

prevent him from being able to treat his ongoing symptoms of gender dysphoria with

hormone therapy.

        Carla Coe and her daughter Christina Coe

        83.   Christina Coe is a nine-year-old transgender girl, and one of three

triplets, who resides in Duval County, Florida with her mother, Carla Coe, her father,

and her siblings.

        84.   From an early age, Christina began to say to her parents that she is a

girl.

        85.   At age five Christina began to express distress including suicidal

ideation and a desire to harm herself.

        86.   Since entering the third grade, Christina has been living as a girl in all

aspects of her life. She has not expressed a renewed desire to harm herself.

        87.   Carla and her husband fear that Christina will not be able to get the



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medical care she needs after she begins puberty because of the transgender medical

bans.

        Fiona Foe and her daughter Freya Foe

        88.   Freya Foe is a ten-year-old transgender girl who resides with her

mother, Fiona Foe, her father, her grandmother, and her two siblings in Orange

County, Florida.

        89.   As soon as she could walk and talk, Freya was very feminine in her self

expression, including her choices of clothing and toys.

        90.   As she grew older, Freya began to express distress about being seen as

a boy. Fiona and her husband took Freya to see a psychologist who diagnosed her

with gender dysphoria.

        91.   Shortly before her tenth birthday, Freya’s doctor examined her and

determined that she had reached Tanner Stage 2, meaning puberty is in progress. In

the months preceding this examination, Freya had begun to express distress about

the onset of puberty and her performance in school began to decline.

        92.   In December 2022, Freya’s doctors determined that puberty blocking

medication was medically necessary for the treatment of her gender dysphoria. With

the consent of her parents, Freya began puberty blocking medication. Since then,

Freya’s overall wellbeing and performance in school have improved.

        93.   The transgender medical bans will prevent Freya’s medical providers



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from prescribing hormones to allow her to go through female puberty, medication

she may need as her peers continue to develop through puberty.

                              CLAIMS FOR RELIEF

                                      COUNT I
                      Deprivation of Substantive Due Process
         Parent Plaintiffs Against Defendants in Their Official Capacities
       Violation of Parent Plaintiffs’ Right to Direct the Upbringing of Their
                                Adolescent Children
                             U.S. Const. Amend. XIV

       94.    The plaintiffs incorporate all preceding paragraphs of the Complaint as

if set forth fully herein.

       95.    The parent plaintiffs bring this Count against all the defendants.

       96.    The Fourteenth Amendment to the United States Constitution protects

the rights of parents to make decisions “concerning the care, custody, and control of

their children.” Troxel v. Granville, 530 U.S. 57, 66 (2000) (plurality). That

fundamental right includes the liberty to make medical decisions for their minor

adolescent children, including the right to obtain medical treatments that are

recognized to be safe, effective, and medically necessary to protect their adolescent

children’s health and well-being.

       97.    The transgender medical bans violate this fundamental right by

preventing the parent plaintiffs from obtaining medically necessary care for their

minor adolescent children.

       98.    By intruding upon parents’ fundamental right to direct the upbringing

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of their adolescent children, the transgender medical bans are subject to strict

scrutiny.

      99.    The defendants have no compelling justification for preventing parents

from ensuring their adolescent children can receive essential medical care. The

transgender medical bans do not advance any legitimate interest, much less a

compelling one.

                                      COUNT II
                            Deprivation of Equal Protection
            All Plaintiffs Against Defendants in Their Official Capacities
                               U.S. Const. Amend. XIV

      100. The plaintiffs incorporate Paragraphs 1–93 of the Complaint as if set

forth fully herein.

      101. All the plaintiffs bring this Count against all the defendants.

      102. The Equal Protection Clause of the Fourteenth Amendment,

enforceable pursuant to 42 U.S.C. § 1983, provides that no state shall “deny to any

person within its jurisdiction the equal protection of the laws.” U.S. Const. Amend.

XIV, § 1.

      103. The transgender medical bans single out transgender minors and

prohibit them from obtaining medically necessary treatment based on their sex and

transgender status.

      104. Under the Equal Protection Clause, government classifications based

on sex are subject to heightened scrutiny and are presumptively unconstitutional.

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      105. Transgender-based       government     classifications     are   subject    to

heightened scrutiny because they are sex-based classifications.

      106. Because      transgender    people   have       obvious,   immutable,      and

distinguishing characteristics, including having a gender identity that is different

from their birth sex, they comprise a discrete group. This defining characteristic

bears no relation to a transgender person’s ability to contribute to society.

Nevertheless, transgender people have faced historical discrimination and have been

unable to secure equality through the political process.

      107. As such, transgender classifications are subject to strict scrutiny.

      108. The transgender medical bans do nothing to protect the health or well-

being of minors. To the contrary, the transgender medical bans undermine the health

and well-being of transgender minors by denying them essential medical care.

      109. The transgender medical bans are not narrowly tailored to further a

compelling government interest, substantially related to any important governmental

interest, or even rationally related to a governmental interest. Accordingly, the

transgender medical bans violate the Equal Protection Clause of the Fourteenth

Amendment.

                             RELIEF REQUESTED

      WHEREFORE, the plaintiffs request that this Court:

      (1) issue a judgment, pursuant to 28 U.S.C. §§ 2201-2202, declaring that the



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   transgender medical bans violate the United States Constitution for the

   reasons and on the Counts set forth above;

(2) temporarily, preliminarily, and permanently enjoin the defendants and

   their officers, employees, servants, agents, appointees, or successors from

   enforcing the transgender medical bans;

(3) declare that the transgender medical bans violate the Fourteenth

   Amendment to the United States Constitution;

(4) award the plaintiffs their costs and attorneys’ fees pursuant to 42 U.S.C. §

   1988 and other applicable laws; and

(5) grant such other relief as the Court finds just and proper.

Respectfully submitted this 23rd day of March, 2023.




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By: /s/ Lawrence Silverman                       NATIONAL CENTER FOR
Lawrence Silverman                               LESBIAN RIGHTS
lawrence.silverman@sidley.com
Florida Bar No. 7160                             By: /s/ Christopher F. Stoll
Stephanie Peral                                  Christopher F. Stoll
stephanie.peral@sidley.com                       (CA Bar No. 179046)
Florida Bar No. 119324                           Kelly Jo Popkin
*Admission to the Northern District of Florida   (NY Bar No. 5698220)*
pending                                          National Center for Lesbian
SIDLEY AUSTIN LLP                                Rights
1001 Brickell Bay Drive                          870 Market Street, Suite 370
Suite 900                                        San Francisco, CA 94102
Miami FL, 33131                                  Tel. 415-365-1320
+1 (305) 391-5228                                cstoll@nclrights.org
                                                 kpopkin@nclrights.org
Sara Mandelbaum*
smandelbaum@sidley.com                           GLBTQ LEGAL
SIDLEY AUSTIN LLP                                ADVOCATES &
787 7th Ave                                      DEFENDERS
New York, NY 10019
+1 (212) 839-6051                                By: /s/ Jennifer Levi
                                                 Jennifer Levi*
SOUTHERN LEGAL COUNSEL                           Chris Erchull*
                                                 18 Tremont, Suite 950
By: /s/ Simone Chriss                            Boston, MA 02108
Simone Chriss                                    (617) 426-1350
Florida Bar No. 124062                           jlevi@glad.org
Chelsea Dunn                                     cerchull@glad.org
Florida Bar No. 1013541
1229 NW 12th Avenue                              * Application for admission
Gainesville, FL 32601                            pro hac vice forthcoming
(352) 271-8890
Simone.Chriss@southernlegal.org                  Counsel for Plaintiffs
Chelsea.Dunn@southernlegal.org

HUMAN RIGHTS CAMPAIGN FOUNDATION

By: /s/ Jason Starr
Ami Patel* (CA No. 325647)
Jason Starr* (NY No. 5005194)

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Human Rights Campaign Foundation
1640 Rhode Island Avenue NW
Washington, D.C. 20036
Telephone: (202) 993-4180
Facsimile: (202) 628-0517
Ami.Patel@hrc.org
Jason.Starr@hrc.org




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